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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                           4/10/2020
&RQWUDULDQ &DSLWDO 0DQDJHPHQW //& HW DO
_______________________,

                               Plaintiffs,                                          Civ.
                                                                                   __      ____ (AT)

               -against-                                                         CIVIL CASE
                                                                            MANAGEMENT PLAN AND
 %ROLYDULDQ 5HSXEOLF RI 9HQH]XHOD
_______________________,                                                     SCHEDULING ORDER

                                Defendant.

ANALISA TORRES, United States District Judge:

        This Civil Case Management Plan (the “Plan”) is submitted by the parties in accordance with Rule
26(f)(3), Fed. R. Civ. P.

                  [[[[[[[ (do not consent) to conducting all further proceedings before a magistrate
       All parties (consent)
       judge, including motions and trial. 28 U.S.C. § 636(c). [Circle one.] The parties are free to
       withhold consent without adverse substantive consequences. [If all parties consent, the remaining
       paragraphs need not be completed.]

     This case [[[
                  (is) (is not) to be tried to a jury. [Circle one.]

     Amended pleadings may not be filed and additional parties may not be joined except with leave of
                                                                                            days from the
       the Court. Any motion to amend or to join additional parties shall be filed within ___
       date of this Order. [Absent exceptional circumstances, thirty (30) days.]

    Initial disclosures, pursuant to Rule 26(a)(1), Fed. R. Civ. P., shall be completed not later than
      1$
      ___ days from the date of this Order. [Absent exceptional circumstances, fourteen (14) days.]

                                                          $SULO  
       All fact discovery shall be completed no later than ___________________.    [A period not to
       exceed 120 days, unless the Court finds that the case presents unique complexities or other
       exceptional circumstances. The Court will not stay discovery pending its decision on any
       motion.]

     The parties are to conduct discovery in accordance with the Federal Rules of Civil Procedure and
       the Local Rules of the Southern District of New York. The following interim deadlines may be
       extended by the written consent of all parties without application to the Court, provided that all fact
       discovery is completed by the date set forth in paragraph 5 above:

       D                                                                      $SULO  
               Initial requests for production of documents to be served by _______________________ .
       E                                          $SULO  
               Interrogatories to be served by _______________________________________________.
       F                                            $SULO  
               Depositions to be completed by ______________________________________________.
       G                                                             $SULO  
               Requests to Admit to be served no later than ____________________________________.
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7.    a.                                                             $SULO  
             All expert discovery shall be completed no later than _____________________________.
             [Absent exceptional circumstances, a date forty-five (45) days from the date in paragraph 5,
             i.e. the completion of all fact discovery.]

      b.     No later than thirty (30) days prior to the date in paragraph 5, i.e. the completion of all fact
             discovery, the parties shall meet and confer on a schedule for expert disclosures, including
             reports, production of underlying documents and depositions, provided that (i) expert
             report(s) of the party with the burden of proof shall be due before those of the opposing
             party’s expert(s); and (ii) all expert discovery shall be completed by the date set forth in
             paragraph 7(a).

8.    All motions and applications shall be governed by the Court’s Individual Practices, including pre-
      motion conference requirements, except that motions in limine may be made without a pre-motion
      conference on the schedule set forth in paragraph 11. Pursuant to the authority of Rule 16(c)(2),
      Fed. R. Civ. P., any motion for summary judgment will be deemed untimely unless a request for a
      pre-motion conference is made in writing within fourteen (14) days of the date in paragraph 5, i.e.,
      the close of fact discovery.

9.    All counsel must meet face-to-face for at least one hour to discuss settlement within fourteen (14)
      days following the close of fact discovery.

10.   a.     Counsel for the parties have discussed an informal exchange of information in aid of an
             early settlement of this case and have agreed upon the following:
                7KH SDUWLHV DOUHDG\ H[FKDQJHG LQLWLDO GLVFORVXUHV RQ 0DUFK  
             _________________________________________________________________________
             _________________________________________________________________________
             _________________________________________________________________________

      b.     Counsel for the parties have discussed the use of the following alternative dispute
             resolution mechanisms for use in this case: (i) a settlement conference before a magistrate
             judge; (ii) participation in the District’s Mediation Program; and/or (iii) retention of a
             privately retained mediator. Counsel for the parties propose the following alternative
                                                               7KH SDUWLHV GR QRW EHOLHYH DQ DOWHUQDWLYH GLVSXWH
             dispute resolution mechanism for this case: ______________________________________
              UHVROXWLRQ PHFKDQLVP ZLOO EH QHFHVVDU\ RU HIILFLHQW LQ WKLV FDVH
             _________________________________________________________________________

      c.     Counsel for the parties recommend that the alternative dispute resolution mechanism
             designated in paragraph b, be employed at the following point in the case (e.g. within the
             next sixty days; after the deposition of plaintiff is completed (specify date); after the close
             of fact discovery)
                                        1$
             _________________________________________________________________________
             _________________________________________________________________________

      d.     The use of any alternative dispute resolution mechanism does not stay or modify any date in
             this Order.

11.   The Final Pretrial Submission Date is thirty (30) days following the close of fact and expert
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         discovery (whichever is later). By the Final Pretrial Submission Date, the parties shall submit a
         Joint Pretrial Order prepared in accordance with the Court’s Individual Practices and Rule 26(a)(3),
         Fed. R. Civ. P. Any motions in limine shall be filed after the close of discovery and before the Final
         Pretrial Submission Date and the pre-motion conference requirement is waived for any such motion.
         If this action is to be tried before a jury, proposed voir dire questions, jury instructions and verdict
         form shall also be filed by the Final Pretrial Submission Date. Counsel are required to meet and
         confer on a joint submission of proposed jury instructions and verdict form, noting any points of
         disagreement in the joint submission. Jury instructions may not be submitted after the Final Pretrial
         Submission Date, unless they meet the standard of Rule 51(a)(2)(A), Fed. R. Civ. P. If this action
         is to be tried to the Court, proposed findings of fact and conclusions of law should be submitted by
         the Final Pretrial Submission Date.

12.      Counsel for the parties have conferred and their present best estimate of the length of trial is:
            2 days
         ___________________.

13.      [Other items, including those in Rule 26(f)(3).]




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TO BE COMPLETED BY THE COURT:

The Plan has been reviewed by the Court and, except as modified, is adopted as the Scheduling Order of
this Court in accordance with Rule 16(b), Fed. R. Civ. P.

14.      [Other]




15.                                                            May 18, 2020
         The next Case Management Conference is scheduled for ________________      11:20 a.m.
                                                                               at ____________.


16.      The parties are directed to file a joint status report not later than one week in advance of the Case
         Management Conference. The parties should indicate whether they anticipate filing motion(s) for
         summary judgment and whether they believe the case should be referred to a Magistrate Judge for
         settlement discussions. The parties are reminded that, pursuant to paragraph 8, a pre-motion
         conference request for any motion for summary judgment must be made within fourteen (14) days
         of the close of fact discovery.
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        This ORDER may not be modified or the dates herein extended, except by further order of this Court
for good cause shown. Any application to modify or extend the dates herein (except as noted in paragraph
6) shall be made in a written application in accordance with paragraph I.B. of the Court’s Individual
Practices and shall be made no less than five (5) days prior to the expiration of the date sought to be
extended.

       SO ORDERED.
                April 10, 2020
       Dated: _________________
              New York, New York
